          Case 19-40964              Doc 1            Filed 04/10/19 Entered 04/10/19 13:18:37                                 Desc Main
                                                         Document Page 1 of 37

 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       7                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Trump Transportation, Inc

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      1      –      2      4        8    0         8   1     5

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       Trump Transportation, Inc
                                       Number         Street                                           Number     Street
                                       2513 Lake Meadow, Dr.
                                                                                                       P.O. Box



                                       McKinney                            TX       75071
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Collin                                                          from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
          Case 19-40964               Doc 1      Filed 04/10/19 Entered 04/10/19 13:18:37                                   Desc Main
                                                    Document Page 2 of 37
Debtor Trump Transportation, Inc                                                         Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                            Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                            4/01/22 and every 3 years after that).

                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return or if
                                                              all of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                            Chapter 12

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                      Case number
     years?                                                                                               MM / DD / YYYY

                                                 District                                        When                      Case number
     If more than 2 cases, attach a
                                                                                                          MM / DD / YYYY
     separate list.
                                                 District                                        When                      Case number
                                                                                                          MM / DD / YYYY



Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
          Case 19-40964               Doc 1      Filed 04/10/19 Entered 04/10/19 13:18:37                                  Desc Main
                                                    Document Page 3 of 37
Debtor Trump Transportation, Inc                                                          Case number (if known)

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
    List all cases. If more than 1,                                                                                           MM / DD / YYYY
    attach a separate list.                        Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.


12. Does the debtor own or                  No
    have possession of any                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                    needed.
    property that needs
                                                 Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                      related assets or other options).

                                                      Other


                                                 Where is the property?
                                                                               Number      Street




                                                                               City                                      State        ZIP Code

                                                 Is the property insured?

                                                      No
                                                      Yes. Insurance agency

                                                               Contact name

                                                               Phone


              Statistical and adminstrative information
13. Debtor's estimation of             Check one:
    available funds                        Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           creditors.



Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
          Case 19-40964              Doc 1         Filed 04/10/19 Entered 04/10/19 13:18:37                                    Desc Main
                                                      Document Page 4 of 37
Debtor Trump Transportation, Inc                                                         Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 04/08/2019
                                                      MM / DD / YYYY

                                          X /s/ Gagandeep Singh                                     Gagandeep Singh
                                              Signature of authorized representative of debtor      Printed name

                                          Title President

18. Signature of attorney                X /s/ Weldon Reed Allmand                                                Date     04/08/2019
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Weldon Reed Allmand
                                            Printed name
                                            Allmand Law Firm, PLLC
                                            Firm name
                                            860 Airport Freeway, Suite 401
                                            Number          Street



                                            Hurst                                                      TX                   76054
                                            City                                                       State                ZIP Code


                                            (214) 265-0123                                             questions@allmandlaw.com
                                            Contact phone                                              Email address
                                            24027134
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
            Case 19-40964                Doc 1           Filed 04/10/19 Entered 04/10/19 13:18:37                            Desc Main
                                                            Document Page 5 of 37

 Fill in this information to identify the case
 Debtor name          Trump Transportation, Inc

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Checking account 9003                                         Checking account                    9   0   0     3                   $1,700.00
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            $1,700.00


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
           Case 19-40964              Doc 1         Filed 04/10/19 Entered 04/10/19 13:18:37                               Desc Main
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Debtor       Trump Transportation, Inc                                                    Case number (if known)
             Name

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
                                                                                                                                                $0.00
     Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:              $0.00               –                 $0.00                  = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:                 $0.00               –                 $0.00                  = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                $0.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                           Valuation method                     Current value of
                                                                                           used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
          Case 19-40964               Doc 1        Filed 04/10/19 Entered 04/10/19 13:18:37                      Desc Main
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Debtor       Trump Transportation, Inc                                                 Case number (if known)
             Name

     General description                         Date of the       Net book value of    Valuation method          Current value of
                                                 last physical     debtor's interest    used for current value    debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
                                                                                                                                  $0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method          Current value of
                                                                   debtor's interest    used for current value    debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                                  $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
           Case 19-40964               Doc 1        Filed 04/10/19 Entered 04/10/19 13:18:37                       Desc Main
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Debtor       Trump Transportation, Inc                                                   Case number (if known)
             Name


 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of     Valuation method         Current value of
                                                                    debtor's interest     used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                                   $0.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of     Valuation method         Current value of
     Include year, make, model, and identification numbers          debtor's interest     used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. 2012 Great Dane Trailer
      Serial 1GRAP0620CD440621                                              $18,000.00    Market                             $16,000.00
47.2. 2015 Volvo VNL780                                                     $60,000.00    Market                             $60,000.00
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                             $76,000.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                      page 4
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Debtor       Trump Transportation, Inc                                                   Case number (if known)
             Name

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of     Valuation method       Current value of
       Include street address or other description    of debtor's interest   debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
                                                                                                                                          $0.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
                                                                                                                                          $0.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 5
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Debtor       Trump Transportation, Inc                                                   Case number (if known)
             Name

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                  Current value of
                                                                                                                  debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
                                                                                                                                  $0.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                    page 6
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                                                                     Document Page 11 of 37
Debtor           Trump Transportation, Inc                                                                           Case number (if known)
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                              $1,700.00
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                      $76,000.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.              $77,700.00          +     91b.                  $0.00


                                                                                                                                                                      $77,700.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                           page 7
            Case 19-40964                 Doc 1     Filed 04/10/19 Entered 04/10/19 13:18:37                                Desc Main
                                                      Document Page 12 of 37

 Fill in this information to identify the case:
 Debtor name          Trump Transportation, Inc

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Transport Funding                                subject to a lien                                     $60,000.00              $60,000.00

          Creditor's mailing address                       2015 Volvo VNL 780
          8717 W 110th Street, Stee 700                    Describe the lien
                                                           Purchase Money
                                                           Is the creditor an insider or related party?
          Overland Park              KS    66210-2127           No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred                               No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                  $76,000.00


Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
           Case 19-40964                 Doc 1       Filed 04/10/19 Entered 04/10/19 13:18:37                                 Desc Main
                                                       Document Page 13 of 37
Debtor       Trump Transportation, Inc                                                       Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         Transport Funding                                   subject to a lien                                     $16,000.00              $16,000.00

         Creditor's mailing address                          2012 Great Dane Trailer
         8717 W 110th Street, Stee 700                       Describe the lien
                                                             Business Debt
                                                             Is the creditor an insider or related party?
         Overland Park              KS    66210-2127              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

         1GRAP0620CD440621




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
            Case 19-40964              Doc 1       Filed 04/10/19 Entered 04/10/19 13:18:37                            Desc Main
                                                     Document Page 14 of 37

 Fill in this information to identify the case:
 Debtor              Trump Transportation, Inc

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
            Case 19-40964             Doc 1       Filed 04/10/19 Entered 04/10/19 13:18:37                            Desc Main
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Debtor        Trump Transportation, Inc                                                Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $25,000.00
                                                                   Check all that apply.
Blue Vine                                                              Contingent
2225 East Bayshore Rd, Ste 200                                         Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Palo Alto                                CA      94303             Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.2    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $10,000.00
                                                                   Check all that apply.
Comdata                                                                Contingent
5301 Maryland Way                                                      Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Brentwood                                TN      37027             Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.3    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $7,000.00
                                                                   Check all that apply.
Fleet One                                                              Contingent
3102 West End Ave, Ste 900                                             Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Nashville                                TN      37203             Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.4    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                   Check all that apply.
Fund Box                                                               Contingent
300 Montgomery St                                                      Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
San Francisco                            CA      94104             Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 2
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                                                 Document Page 16 of 37
Debtor       Trump Transportation, Inc                                             Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

   3.5     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $15,000.00
                                                               Check all that apply.
Kabbage                                                            Contingent
925B Peachtree Street NE                                           Unliquidated
                                                                   Disputed
Ste 1688
                                                               Basis for the claim:
Atlanta                                GA     30309            Business Debt

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


   3.6     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $80,000.00
                                                               Check all that apply.
Swift Capital                                                      Contingent
3505 Silverside Rd                                                 Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wilmington                             DE     19810            Business Debt

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


   3.7     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              Unknown
                                                               Check all that apply.
Transport Funding                                                  Contingent
8717 W. 110th Street, Ste 700                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Overland Park                          KS     66210-2127       Deficiency Balance

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
2014 Freightliner Cascadia
Serial 3AKJGLDV4ESFR0720




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3
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Debtor       Trump Transportation, Inc                                             Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

   3.8     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              Unknown
                                                               Check all that apply.
Transport Funding                                                  Contingent
8717 W. 110th Street, Ste 700                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Overland Park                          KS     66210-2127       Repo Deficiency

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
2014 Mack CXU613
Serial 1M1AW07Y4EM041343


   3.9     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              Unknown
                                                               Check all that apply.
Transport Funding                                                  Contingent
8717 W. 110th Street, Ste 700                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Overland Park                          KS     66210-2127       Repo Deficiency

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
2012 Great Dane Trailers


  3.10     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              Unknown
                                                               Check all that apply.
Transport Funding                                                  Contingent
8717 W. 110th Street, Ste 700                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Overland Park                          KS     66210-2127       Repo Deficiency

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
2016 Great Dane Trailer




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                      page 4
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Debtor        Trump Transportation, Inc                                                    Case number (if known)

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Christopher V. Arisco                                                 Line
         Padfield & Stout,LLP                                                         Not listed. Explain:
         420 Throckmorton Street, Ste 1210                                            Attorney for - Transport Funding


         Fort Worth                    TX      76102


4.2      Internal Revenue Service                                              Line
         Centralized Insolvency Operations                                            Not listed. Explain:
         PO Box 7346                                                                  Taxes


         Philadelphia                  PA      19101-7346


4.3      Transport Funding, LLC                                                Line
         Assignee: Arrow Truck Sales, INC                                             Not listed. Explain:
         3140 Irving Blvd                                                             Notice Only


         Dallas                        TX      75247




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page 5
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Debtor      Trump Transportation, Inc                                         Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +            $137,000.00


5c. Total of Parts 1 and 2                                                                5c.                $137,000.00
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 6
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 Fill in this information to identify the case:
 Debtor name         Trump Transportation, Inc

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                 Chapter       7                                      Check if this is an
 (if known)                                                                                                       amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
         (Official Form 206A/B).

2.   List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                       parties with whom the debtor has an executory
                                                                                       contract or unexpired lease




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                             page 1
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 Fill in this information to identify the case:
 Debtor name         Trump Transportation, Inc

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.   Does the debtor have any codebtors?
         No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
         Yes

2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
     schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
     owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
     separately in Column 2.

        Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                             Check all schedules
      Name                            Mailing address                                        Name                            that apply:




Official Form 206H                                           Schedule H: Codebtors                                                           page 1
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 Fill in this information to identify the case:


 Debtor Name Trump Transportation, Inc

 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF TEXAS


 Case number (if known):                                                                                                                                                                         Check if this is an
                                                                                                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                      $77,700.00
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                       $77,700.00
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...................................................... $76,000.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              +            $137,000.00
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................     $213,000.00




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
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 Fill in this information to identify the case and this filing:
 Debtor Name         Trump Transportation, Inc

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:


                 Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                 Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 04/08/2019                       X /s/ Gagandeep Singh
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             Gagandeep Singh
                                                             Printed name
                                                             President
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name        Trump Transportation, Inc

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                  04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,           Sources of revenue                             Gross revenue
which may be a calendar year                                                   Check all that apply.                          (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                          Operating a business
                                 From    01/01/2019      to   Filing date
fiscal year to filing date:                                                        Other                                              $144,649.00
                                        MM / DD / YYYY

                                                                                   Operating a business
For prior year:                  From    01/01/2018      to    12/31/2018
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                         $1,181,057.00

                                                                                   Operating a business
For the year before that:        From    01/01/2017      to    12/31/2017
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                              $210,057.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
     adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
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Debtor         Trump Transportation, Inc                                                     Case number (if known)
               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

      Insider's name and address                                   Dates            Total amount or value        Reasons for payment or transfer
4.1. Gagandeep Singh                                               2018                   $30,000.00             Total Compensation for 2018
      Insider's name
      2513 Lake Meadow Drive
      Street


      Mckinney                          Tx       75071-2720
      City                              State    ZIP Code

      Relationship to debtor
      President

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

      Creditor's name and address                                  Description of the property                      Date              Value of property
5.1. Transport Funding                                             2012 Great Dane Trailer                          3/18/19               $16,000.00
      Creditor's name                                              Serial 1GRAP0620CD440621
      8717 W. 110th Street, Ste 700
      Street


      Overland Park                     KS       66210-2127
      City                              State    ZIP Code

      Creditor's name and address                                  Description of the property                      Date              Value of property
5.2. Transport Funding                                             2014 Mack CXU613                                 3/18/19               $40,000.00
      Creditor's name                                              Serial 1M1AW07Y4EM041343
      8717 W. 110th Street, Ste 700
      Street


      Overland Park                     KS       66310-2127
      City                              State    ZIP Code

      Creditor's name and address                                  Description of the property                      Date              Value of property
5.3. Transport Funding                                             2014 Freightliner Cascadia                       2/28/19               $45,000.00
      Creditor's name                                              Serial 3AKJGLDV4ESFR0720
      8717 W. 110th Street, Ste 700
      Street


      Overland Park                     KS       66310-2127
      City                              State    ZIP Code




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
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Debtor         Trump Transportation, Inc                                                     Case number (if known)
               Name

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None

 Part 4:        Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

         None

 Part 5:        Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         None

Description of the property lost and how            Amount of payments received for the loss                       Date of loss      Value of
the loss occurred                                   If you have received payments to cover the loss, for                             property lost
                                                    example, from insurance, government compensation, or
                                                    tort liability, list the total received.
                                                    List unpaid claims on Official Form 206A/B (Schedule A/B:
                                                    Assets -- Real and Personal Property).
2014 International Prostar                                                                                         1/29/19               $45,000.00
Serial 3HSDJAPR2EN757805




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3
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Debtor          Trump Transportation, Inc                                                  Case number (if known)
                Name


 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?            If not money, describe the property              Dates                Total amount
                                                               transferred                                                           or value
 11.1. Allmand Law Firm                                                                                         4/8/19                   $650.00

         Address

         860 Airport Fwy, Ste 401
         Street


         Hurst                        Tx      76054
         City                         State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?
         Gagandeep Singh

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

          None

 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply




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Debtor        Trump Transportation, Inc                                                  Case number (if known)
              Name


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                   No.
                   Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:

 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

         None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

         None




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Debtor       Trump Transportation, Inc                                                      Case number (if known)
             Name

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None

 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None




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Debtor       Trump Transportation, Inc                                                      Case number (if known)
             Name

26. Books, records, and financial statements

     26a.   List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                None

               Name and address                                                                     Dates of service

       26a.1. Gagandeep Singh                                                                       From                      To
               Name
               2513 Lake Meadow Drive
               Street


               Mkinney                                        Tx          75071
               City                                           State       ZIP Code

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                None

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                None

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

                None

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

         No.
         Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                      Position and nature of any interest          % of interest, if any

Gagandeep Singh                          2513 Lake Meadow Drive                       Shareholder/President / Owner                       100%
                                         McKinney, Tx 75071
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

         No
         Yes. Identify below.

Name                                     Address                                      Position and nature of        Period during which position
                                                                                      any interest                  or interest was held




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Debtor        Trump Transportation, Inc                                                   Case number (if known)
              Name

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

         No
         Yes. Identify below.

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.

 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 04/08/2019
            MM / DD / YYYY
X /s/ Gagandeep Singh                                                        Printed name Gagandeep Singh
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                              EASTERN DISTRICT OF TEXAS
                                                                  SHERMAN DIVISION
In re Trump Transportation, Inc                                                                                                     Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                    $650.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                   $650.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)
                                                                 Gagandeep Singh

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   04/08/2019                         /s/ Weldon Reed Allmand
                      Date                            Weldon Reed Allmand                        Bar No. 24027134
                                                      Allmand Law Firm, PLLC
                                                      860 Airport Freeway, Suite 401
                                                      Hurst, TX 76054
                                                      Phone: (214) 265-0123 / Fax: (214) 265-1979




    /s/ Gagandeep Singh
   Gagandeep Singh
   President
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                                       UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF TEXAS
                                               SHERMAN DIVISION
  IN RE:   Trump Transportation, Inc                                               CASE NO

                                                                                  CHAPTER     7

                                       VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 4/8/2019                                            Signature    /s/ Gagandeep Singh
                                                                     Gagandeep Singh
                                                                     President


Date                                                     Signature
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                        Blue Vine
                        2225 East Bayshore Rd, Ste 200
                        Palo Alto, CA 94303



                        Christopher V. Arisco
                        Padfield & Stout,LLP
                        420 Throckmorton Street, Ste 1210
                        Fort Worth, Tx 76102


                        Comdata
                        5301 Maryland Way
                        Brentwood,TN 37027



                        Fleet One
                        3102 West End Ave, Ste 900
                        Nashville, TN 37203



                        Fund Box
                        300 Montgomery St
                        San Francisco, CA 94104



                        Internal Revenue Service
                        Centralized Insolvency Operations
                        PO Box 7346
                        Philadelphia, PA 19101-7346


                        Internal Revenue Service
                        P.O. Box 7346
                        Philadelphia, PA 19101-7346



                        Kabbage
                        925B Peachtree Street NE
                        Ste 1688
                        Atlanta, GA 30309


                        Swift Capital
                        3505 Silverside Rd
                        Wilmington, DE 19810
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                        Transport Funding
                        8717 W. 110th Street, Ste 700
                        Overland Park, KS 66210-2127



                        Transport Funding
                        8717 W 110th Street, Stee 700
                        Overland Park, KS 66210-2127



                        Transport Funding, LLC
                        Assignee: Arrow Truck Sales, INC
                        3140 Irving Blvd
                        Dallas, TX 75247


                        United States Attorney - NORTH
                        3rd Floor, 1100 Commerce St.
                        Dallas, TX 75242



                        United States Attorney General
                        Main Justice Building, Rm 5111
                        10th & Constitution Ave
                        NW Washington D.C. 50230


                        United States Attorney's Office
                        110 North College Avenue, Suite 700
                        Tyler, Texas 75702-0204



                        United States Trustee's Office
                        110 North College Avenue, Suite 300
                        Tyler, Texas 75702-7231



                        US Attorney General
                        US Department of Justice
                        950 Pennsylvania Ave, NW
                        Washington, DC 20530
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                                       UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF TEXAS
                                               SHERMAN DIVISION
 In re: Trump Transportation, Inc                                        CASE NO
                                                                         CHAPTER   7


                                      BUSINESS INCOME AND EXPENSES



FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

   1. Gross Income for 12 Months Prior to Filing:                             $1,181,057.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

   2. Gross Monthly Income:
                                                                                                               $0.00
PART C - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:

   3. Net Employee Payroll (Other Than Debtor):                                        $0.00
   4. Payroll Taxes:                                                                   $0.00
   5. Unemployment Taxes:                                                              $0.00
   6. Worker's Compensation:                                                           $0.00
   7. Other Taxes:                                                                     $0.00
   8. Inventory Purchases (including raw materials):                                   $0.00
   9. Purchase of Feed/Fertilizer/Seed/Spray:                                          $0.00
   10. Rent (other than debtor's principal residence):                                 $0.00
   11. Utilities:                                                                      $0.00
   12. Office Expenses and Supplies:                                                   $0.00
   13. Repairs and Maintenance:                                                        $0.00
   14. Vehicle Expenses:                                                               $0.00
   15. Travel and Entertainment:                                                       $0.00
   16. Equipment Rental and Leases:                                                    $0.00
   17. Legal/Accounting/Other Professional Fees:                                       $0.00
   18. Insurance:                                                                      $0.00
   19. Employee Benefits (e.g., pension, medical, etc.):                               $0.00
   20. Payments to be Made Directly by Debtor to Secured Creditors for
        Pre-Petition Business Debts (Specify):                                         None
   21. Other (Specify):                                                                None
   22. Total Monthly Expenses (Add items 3 - 21)                                                               $0.00

PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:

   23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2):                                              $0.00
